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                               EXHIBIT 
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      1               UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OHIO
      2                     EASTERN DIVISION
      3
             IN RE: NATIONAL                  )
      4      PRESCRIPTION                     )   MDL No. 2804
             OPIATE LITIGATION                )
      5      _____________________            )   Case No.
                                              )   1:17-MD-2804
      6                                       )
             THIS DOCUMENT RELATES            )   Hon. Dan A.
      7      TO ALL CASES                     )   Polster
      8
                           FRIDAY, JANUARY 4, 2019
      9
             HIGHLY CONFIDENTIAL – SUBJECT TO FURTHER
     10               CONFIDENTIALITY REVIEW
     11                        – – –
     12              Videotaped deposition of Ramona
     13    Sullins, held at the offices of JONES DAY, 77
     14    West Wacker Drive, Chicago, Illinois,
     15    commencing at 7:31 a.m., on the above date,
     16    before Carrie A. Campbell, Registered
     17    Diplomate Reporter, Certified Realtime
     18    Reporter, Illinois, California & Texas
     19    Certified Shorthand Reporter, Missouri &
     20    Kansas Certified Court Reporter.
     21                       – – –
                    GOLKOW LITIGATION SERVICES
     22         877.370.3377 ph | 917.591.5672 fax
                          deps@golkow.com
     23
     24
     25

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      6             Q.        And you believe that occurred
      7    sometime in 2010; is that correct?
      8             A.        '10 or '11.        I don't recall.
      9             Q.        Before that rollout occurred,
     10    did Walmart have a monitoring program in
     11    place?
     12             A.        Yes.
     13             Q.        And what was that program?
     14             A.        I believe it was a 405 report,
     15    and they monitored orders as they came in.
     16             Q.        Okay.     And what do you mean
     17    by -- when you say "they monitored orders as
     18    they came in," what does that mean?
     19             A.        So the distribution center did
     20    and the associates did.
     21             Q.        Are the associates at the
     22    distribution center?
     23             A.        Yes.
     24             Q.        Okay.     Anyone other than the
     25    associates at the distribution center that

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      1    would monitor orders?
      2                       MS. FUMERTON:         Objection.
      3             Form.
      4    QUESTIONS BY MR. BOWER:
      5             Q.        And I'm just trying -- just so
      6    the record is clear, I'm just trying to
      7    understand your answer.
      8                       You said "the distribution
      9    center did and the associates did."                   Are
     10    those two different things in your mind?
     11             A.        They're all at the distribution
     12    center.
     13             Q.        And what were the associates
     14    doing prior to the rollout of Reddwerks?
     15             A.        So my understanding is that
     16    they would -- they would let their manager
     17    know if they saw an order that was out of the
     18    ordinary.
     19             Q.        What do you mean by "out of the
     20    ordinary"?
     21             A.        Like, for example, ReliOn
     22    insulin, we had orders that would -- where
     23    the pharmacy would think that they were
     24    ordering ten vials of insulin, and they
     25    actually ordered a hundred of them because

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      1    they were in packs of ten.              So those would be
      2    examples of what they would bring to their
      3    attention.
      4             Q.        And in fact, Walmart had an
      5    automatic cut for those instant orders,
      6    correct?
      7                       MS. FUMERTON:        Objection.
      8             Form.
      9                       Go ahead.
     10                       THE WITNESS:        For the what now?
     11    QUESTIONS BY MR. BOWER:
     12             Q.        For those insulin orders that
     13    you just -- the example that you just
     14    provided, Walmart actually had an automatic
     15    cut for those orders, didn't they?
     16                       MS. FUMERTON:        Objection.
     17             Form.
     18                       THE WITNESS:        It was a manual
     19             cut; it wasn't automatic.
     20    QUESTIONS BY MR. BOWER:
     21             Q.        A manual cut that was
     22    automatically applied to insulin orders,
     23    correct?
     24                       MS. FUMERTON:        Objection.
     25             Form.

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      1                       THE WITNESS:        They would call
      2             the store to inform them that they had
      3             placed -- if they really wanted a
      4             hundred because, I mean, the
      5             refrigerator didn't hold a hundred.
      6    QUESTIONS BY MR. BOWER:
      7             Q.        Right.
      8                       And that was specific to
      9    insulin, correct?
     10             A.        That's correct.
     11             Q.        Okay.     What about with respect
     12    to Schedule II narcotics, what were the DCs
     13    doing in 2008?
     14                       MS. FUMERTON:        Objection.
     15             Form.
     16                       THE WITNESS:        My understanding
     17             is they would do the same thing with
     18             that.
     19    QUESTIONS BY MR. BOWER:
     20             Q.        And where does that
     21    understanding come from?
     22             A.        Just from when I was training
     23    in 2008, when I was out at the DCs training.
     24             Q.        Okay.     So what specifically did
     25    you learn in connection with your training

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      1    that the DCs were doing for Schedule II
      2    narcotics?
      3                       MS. FUMERTON:        Objection.
      4             Form.
      5                       THE WITNESS:        So again, they
      6             would look at that paper and let their
      7             supervisor or manager know that this
      8             appears to be out of the ordinary or
      9             unusual.
     10    QUESTIONS BY MR. BOWER:
     11             Q.        And at that point -- and we're
     12    talking 2008, correct?
     13             A.        Yes.
     14             Q.        At that point, how was DC 6045
     15    receiving orders?           They were paper, correct?
     16             A.        So those would come in
     17    electronically.          They're printed on paper.
     18             Q.        They would come in
     19    electronically once a day?
     20             A.        That's correct.
     21             Q.        And then they would print it on
     22    paper at the DC?
     23             A.        That's correct.
     24             Q.        And then what would happen to
     25    those papers?

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      1             A.        Well, first they would print
      2    the 222 form, sign those, and then that and
      3    the paper order would be put together in a
      4    packet, and the associates would fill orders
      5    based on that paper order.
      6             Q.        And was it the practice for the
      7    orders to be filled and shipped the same day
      8    they came in?
      9             A.        Yes.
     10             Q.        And approximately how many
     11    orders came in to DC 6045 on a daily basis
     12    during this time period?
     13             A.        I don't recall how many orders
     14    came in.
     15             Q.        Would it have been in the
     16    hundreds of orders?           Could it have been in
     17    the hundreds of orders per day?
     18             A.        Well, they filled store
     19    order -- store only got an order once a week
     20    of C-IIs.       So if you divide it up, however
     21    many stores we had at the time, that's how
     22    many orders they would -- processed, four
     23    days a week.
     24             Q.        That's fine.
     25                       You said four days a week?

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      1             A.        Yes.
      2             Q.        So, for example, if there were
      3    4,000 stores, approximately a thousand orders
      4    a day, correct?
      5             A.        Potentially.
      6




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